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AO 245B-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case


                                   United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                      JUDGMENT OF DISCHARGE IN A CRIMINAL
                                                                        CASE
                              v.                                        (For Offenses Committed On or After November 1, 1987)
                                                                        Case Number: 2:11CR00511-05
             W. THEODORE LONGLEY
                                                                        Matthew Bockmon, Matthew Scoble, Asst.
                                                                        Federal Defenders
                                                                        Defendant’s Attorney

THE DEFENDANT:
[]       pleaded guilty to count(s): .
[]       pleaded nolo contendere to counts(s)      which was accepted by the court.
[]       was found guilty on count(s) after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                           Date Offense          Count
Title & Section                     Nature of Offense                                      Concluded             Number(s)
15 USC 1                            Big Rigging                                            October 2009          1
18 USC 1349                         Conspiracy to Commit Mail Fraud                        October 2009          2


       The defendant is sentenced as provided in pages 2 through 1 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[U]      The defendant has been found not guilty on counts(s) 1 and 2 of the Superseding Indictment           and is discharged
         as to such count(s).

[]       Count(s)    (is)(are) dismissed on the motion of the United States.

[]       Indictment is to be dismissed by District Court on motion of the United States.

[]       Appeal rights given.                         []        Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
attorney of material changes in economic circumstances.

                                                                March 11, 2014
                                                                Date of Imposition of Judgment



                                                                Signature of Judicial Officer

                                                                WILLIAM B. SHUBB
                                                                Senior United States District Judge
                                                                Name & Title of Judicial Officer

                                                                March 12, 2014
                                                                Date
